 

Case 5:10-cr-00287-DEW-MLH Document 76 Filed 12/27/12 Page 1of1PagelID#: 212

 

 

 

 

 

 

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Bin T:~Ss: WESTERN DISTRICT OF LOUISIANA
SHREVEPORT DIVISION

UNITED STATES OF AMERICA CASE NUMBER: 10-CR-00287

VERSUS JUDGE WALTER

LETITIA C. SCOTT MAGISTRATE JUDGE HORNSBY

 

ORDER

 

Considering the foregoing motions and reasons:

IT IS ORDERED that Alex J. Washington is allowed to withdraw as counsel for
the defendant, Letitia C. Scott.

IT IS FURTHER ORDERED that an extension of time for the filing of the Notice

of Appeal is given until the f day of

 

IT IS FURTHER ORDERED that this matter is hereby referred to the Office of the
Federal Public Defender for assignment of appeal counsel to handle the balance of the
defendant's case.

THUS DONE AN Nn in the City of Shreveport, Caddo Parish, Louisiana

- - aL td

UNITED STATES DISTRICT JUDGE

 

 

 
